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     United States Attorney
 2   TODD D. LERAS
     Assistant U.S. Attorney
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     Sacramento, California 95814
 4   Telephone: (916) 554-2918
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 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )
                                   )          Case No. 2:10-cr-00284-MCE
12                  Plaintiff,     )
                                   )          GOVERNMENT MOTION TO DISMISS
13             v.                  )
                                   )
14   THUY THI TRAN,                )
                                   )
15                  Defendant.     )
     ______________________________)
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17
18           Plaintiff United States of America, by and through United
19   States Attorney Benjamin B. Wagner and Assistant United States
20   Attorney Todd D. Leras, hereby moves, consistent with the Principles
21   of Federal Prosecution, to dismiss without prejudice under Rule
22   48(a) of the Federal Rules of Criminal Procedure the charge in the
23   Indictment against defendant Thuy Thi Tran.          Based on defense
24   information and investigation obtained during post-Indictment
25   investigation, including matters not available to the government
26   until after formal charging had occurred, the government believes
27   / / /
28   / / /

     Government’s Motion to Dismiss
          Case 2:10-cr-00284-MCE Document 155 Filed 02/28/13 Page 2 of 3


 1   that is in the interest of justice to dismiss the charge pending
 2   against defendant Thuy Thi Tran.
 3                                            Respectfully submitted,
 4
                                              BENJAMIN B. WAGNER
 5                                            United States Attorney
 6   Dated: February 21, 2013                    /s/ Todd D. Leras
                                              TODD D. LERAS
 7                                            Assistant U.S. Attorney
                                              Attorney for Plaintiff
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     Government’s Motion to Dismiss       2
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 1                                     ORDER
 2        Based on the government’s motion, it is hereby ordered that the
 3   charge in the Indictment in this matter as to defendant Thuy Thi
 4   Tran is dismissed without prejudice.
 5        IT IS SO ORDERED.
 6   DATED: February 27, 2013
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 9                                  _____________________________________________
                                    MORRISON C. ENGLAND, JR., CHIEF JUDGE
10                                  UNITED STATES DISTRICT JUDGE
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